Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.14 Page 1 of 29




            GROUP EXHIBIT A
         Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.15 Page 2 of 29
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Northern District
                                                        __________  DistrictofofCalifornia
                                                                                 __________             G
         ABANTE ROOTER AND PLUMBING, INC.
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No. 3:19-cv-05711
           TOTAL MERCHANT SERVICES, LLC
                                                                               )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                             Triumph Merchant Solutions, LLC
 To:

                                                        (Name of person to whom this subpoena is directed)

       
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See Addendum A



  Place:                                                                                 Date and Time:
           A mutually agreeable location
                                                                                                              02/18/2020 5:00 pm

      u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        02/04/2020

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                    /s/ Patrick H. Peluso
                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff Abante Rooter and Plumbing, Inc.                               , who issues or requests this subpoena, are:
Patrick H. Peluso, Woodrow & Peluso, LLC, 3900 E. Mexico Ave., Suite 300, Denver, CO 80210
ppeluso@woodrowpeluso.com 720-213-0676
                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.16 Page 3 of 29
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:19-cv-05711

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
        Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.17 Page 4 of 29
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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           ADDENDUM A TO SUBPOENA TO PRODUCE DOCUMENTS TO
                  TRIUMPH MERCHANT SOLUTIONS, LLC

Please produce the following documents for inspection and copying on or before November 1,
2019. To the extent that TRIUMPH objects to any of the below requests on the basis of privilege,
TRIUMPH must provide a privilege log and produce any and all non-privileged documents.
Defined terms need not be capitalized to retain their defined meanings.

1.     All DOCUMENTS sufficient to IDENTIFY the manner by which YOU claim prior
       express consent was obtained to place telemarketing calls on behalf of or for the benefit
       of TOTAL MERCHANT to PLAINTIFF, including all DOCUMENTS sufficient to
       IDENTIFY all CONSENT LANGUAGE or other disclosures used.

2.     All DOCUMENTS sufficient to IDENTIFY all PERSONS who provided prior express
       consent to be called by YOU on behalf of TOTAL MERCHANT in the same manner that
       PLAINTIFF allegedly provided prior express consent to be called.

3.     All DOCUMENTS sufficient to IDENTIFY all PERSONS, and the total number of such
       PERSONS, that YOU called on behalf of TOTAL MERCHANT on their cellular
       telephone during the RELEVANT TIME PERIOD where the PERSONS provided prior
       express consent in the same manner that YOU claim PLAINTIFF provided any such
       consent.

4.     All DOCUMENTS sufficient to IDENTIFY the total number of calls, and the date, time,
       and duration of each call, made to each PERSON identified in DOCUMENTS produced
       in response to Request Number 3 above.

5.     All DOCUMENTS in YOUR possession that mention PLAINTIFF.

6.     All DOCUMENTS sufficient to IDENTIFY the DIALING EQUIPMENT utilized to
       place calls to PLAINTIFF and PERSONS who provided prior express consent in the
       same manner as Plaintiff.

7.     All DOCUMENTS sufficient to IDENTIFY YOUR complete relationship with TOTAL
       MERCHANT, including all contracts, agreements, and communications between YOU
       and TOTAL MERCHANT.

8.     All DOCUMENTS sufficient to IDENTIFY any and all steps YOU have caused to be
       taken to comply with the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
       (“TCPA”) and its implementing regulations, 47 C.F.R. § 64.1200, et seq., including any
       policies and procedures and the training of employees.

9.     All DOCUMENTS sufficient to IDENTIFY YOUR INTERNAL DO NOT CALL LIST,
       if any, together with all DOCUMENTS sufficient to IDENTIFY the location of any such
       INTERNAL DO NOT CAL LIST.
Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.19 Page 6 of 29



10.   All DOCUMENTS sufficient to IDENTIFY any and all PERSONS that YOU called at
      least once on behalf of or for the benefit of TOTAL MERCHANT after they submitted a
      DO NOT CALL REQUEST during the RELEVANT TIME PERIOD, together with the
      total number of calls you caused to be made to each person so identified.

11.   All DOCUMENTS sufficient to IDENTIFY any and all involvement of TOTAL
      MERCHANT in YOUR telemarketing activities or oversight or control that TOTAL
      MERCHANT possesses over YOUR telemarketing activities conducted on behalf of
      TOTAL MERCHANT, including all related contracts and communications.

12.   All DOCUMENTS sufficient to IDENTIFY any and all communications between YOU
      and TOTAL MERCHANT regarding PLAINTIFF, this lawsuit, or the underlying
      allegations set forth in the Complaint.

                                       DEFINITIONS

1.    “CONSENT LANGUAGE” means and refers to all words, language, websites, images,
      terms, or disclosures that were shown, disclosed, or made viewable or available by YOU
      (or any person acting on YOUR behalf, for YOUR benefit, or in accordance with any
      agreement with YOU) to any consumer, including any disclosures located on or via any
      website, webpage, hyperlink, writing, or DOCUMENT, for the purpose of providing YOU
      with prior express consent to call the consumer’s cellphone as required by the Telephone
      Consumer Protection Act, 47 U.S.C. § 227, et seq.

2.    “DEFENDANT” or “TOTAL MERCHANT” means and refers to the Defendant in the
      case, Total Merchant Services, LLC, a limited liability company organized and existing
      under the laws of the State of Delaware whose primary place of business is located at 21650
      Oxnard Street, Suite 200, Woodland Hills, California 91367, including all of its divisions,
      subsidiaries, related companies, predecessors and successors, and all of its owners,
      directors, managers, agents, attorneys, affiliates, subsidiaries, employees, contractors,
      partners, and joint ventures.

3.    “DIALING EQUIPMENT” means and refers to any equipment, including telemarketing
      systems and/or computers or computer systems used to make the telephone calls and/or
      text messages in this case, including dialing equipment known as a “predictive dialer” or
      “autodialer.” The definition also includes dialing technology that plays a pre-recorded
      voice or message. The definition also includes all associated hardware, software, coding,
      and databases (including language, rules, fields, and schema).

4.    “DO NOT CALL REQUEST” or any similar phrase, means and refers to any
      communication from a recipient of at least one of YOUR calls that communicated to YOU
      that the PERSON wanted to stop receiving calls from YOU.

5.    “DOCUMENTS” means and refers to writings, contracts, manuals, papers, drawings,
      graphs, diagrams, maps, audits and audit results, records, reports, investigations, charts,
      studies, photographs, sound recordings, images, computer programs, letters, ESI, emails,
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      text messages, contracts, spreadsheets, agreements, data, databases, and any and all other
      data or data compilations, including without limitation all ESI, Excel files, screen shots,
      proof of backups, data or other reporting data—stored in any medium from which
      information can be obtained.

6.    “IDENTIFY” shall mean the following:

      A.     When referring to a person, it means to give the person’s full name, present address
             or last known address, additional phone number, and email address, and the name
             of the registered business associated, owned, or operated, in any capacity by any
             such person.

      B.     When referring to an entity, it means to give the entity’s full name, contact
             telephone number, and email address, and any name that the entity purports to do
             business as (d/b/a name), and the type of entity that the business is registered as,
             including but not limited to business, corporation, limited liability company,
             professional association, and limited liability partnership.

7.    “INTERNAL DO NOT CALL LIST” means and refers to any internal list of phone
      numbers YOU maintain of PERSONS who have requested not to be called by YOU
      together with any written policies and procedures regarding the maintenance and use of
      any such list.

8.    “PERSON” means any natural person or any business, legal, quasi-governmental or
      governmental entity or association.

9.    “PLAINTIFF” means the Plaintiff in this action, Abante Rooter and Plumbing, Inc., and
      any subsequent Persons added as Plaintiffs to the Complaint or any subsequent or amended
      complaint.

10.   “RELEVANT TIME PERIOD” means and refers to the time from September 11, 2015 to
      the present.

11.   “YOU,” “YOUR,” or “TRIUMPH” means and refers to Triumph Merchant Solutions, LLC
      a California corporation whose principal place of business and corporate headquarters is
      located at 2305 Historic Decatur Road, Suite 100, San Diego, California 92106, including
      all of its divisions, subsidiaries, related companies, predecessors and successors, and all of
      its owners, directors, managers, agents, attorneys, affiliates, subsidiaries, employees,
      contractors, partners, and joint ventures.
        Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.21 Page 8 of 29
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________        G
        ABANTE ROOTER AND PLUMBING, INC.
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No. 3:19-cv-05711
                                                                               )
          TOTAL MERCHANT SERVICES, LLC
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                                                             Triumph Merchant Solutions, LLC
 To:

                                                       (Name of person to whom this subpoena is directed)

       
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
See Addendum A

 Place: A mutually agreeable location                                                  Date and Time:
                                                                                                        02/25/2020 9:00 am


          The deposition will be recorded by this method: Stenographer

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        02/04/2020
                                   CLERK OF COURT
                                                                                         OR
                                                                                                            /s/ Patrick H. Peluso
                                           Signature of Clerk or Deputy Clerk                                Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff Abante Rooter and Plumbing, Inc.                              , who issues or requests this subpoena, are:
Patrick H. Peluso, Woodrow & Peluso, LLC, 3900 E. Mexico Ave., Suite 300, Denver, CO 80210
ppeluso@woodrowpeluso.com 720-213-0676
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.22 Page 9 of 29
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 3:19-cv-05711

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
       Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.23 Page 10 of 29

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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            ADDENDUM A TO SUBPOENA TO TESTIFY AT A DEPOSITION
                  TO TRIUMPH MERCHANT SOLUTIONS, LLC

 Please take notice that pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure,
 TRIUMPH is hereby notified of its obligation to designate one or more officers, employees,
 agents or other persons who can testify on behalf of TRIUMPH with respect to the topics set
 forth below. The person(s) so designated shall be required to testify as to each of those matters
 known or reasonably available to TRIUMPH. Therefore, please designate a representative to
 testify regarding the following topics. The defined terms need not be capitalized to retain their
 defined meanings.

         1.      All steps YOU have taken to comply with the Telephone Consumer Protection
 Act (“TCPA”), including YOUR policies and procedures, if any, with respect to the TCPA, and
 the training of any of YOUR personnel in any such policies and procedures.

       2.      YOUR complete relationship with TOTAL MERCHANT, including all contracts,
 agreements, communications, and call scripts used between YOU and TOTAL MERCHANT.

      3.     All services that YOU perform or have performed on behalf of TOTAL
 MERCHANT or for TOTAL MERCHANT’s benefit, including all telemarketing activities that
 YOU perform on behalf of TOTAL MERCHANT or for TOTAL MERCHANT’s benefit.

         4.     All oversight or control that TOTAL MERCHANT possesses or retains over
 YOUR telemarketing activities, including without limitation any communications, contracts, or
 periodic reporting YOU send to TOTAL MERCHANT regarding telemarketing activity YOU
 conduct or have conducted on TOTAL MERCHANT’s behalf or for TOTAL MERCHANT’s
 benefit.

        5.      Any prior express consent that YOU claim was obtained to place telephone calls
 to PLAINTIFF, including all CONSENT LANGUAGE and the manner by which YOU claim
 such prior express consent was obtained.

        6.     YOUR ability to IDENTIFY all PERSONS who YOU claim provided prior
 express consent to be called by TOTAL MERCHANT (or by YOU on behalf of or for the benefit
 of TOTAL MERCHANT) in the same manner that was supposedly used to obtain any prior
 express consent to make calls to PLAINTIFF.

        7.     The identities of all PERSONS that YOU called on behalf of or for the benefit of
 TOTAL MERCHANT on their cellular telephone during the RELEVANT TIME PERIOD where
 the PERSONS provided prior express consent in the same manner that YOU claim any consent
 was obtained to make calls to PLAINTIFF.

         8.    The total number of calls, and the reason for such calls, that YOU caused to be
 placed to PERSONS on behalf of or for the benefit of TOTAL MERCHANT during the
 RELEVANT TIME PERIOD where the PERSONS provided prior express consent in the same
 manner that YOU claim any consent was obtained to make calls to PLAINTIFF.
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        9.     All of YOUR communications with PLAINTIFF, including all calls.

        10.    The DIALING EQUIPMENT that YOU utilized to place calls to PLAINTIFF.

         11.    YOUR INTERNAL DO NOT CALL LIST, including the location of any such
 list, YOUR use of the list, and YOUR training of any personnel involved in telemarketing in the
 existence and use of any such list.

        12.   YOUR handling of DO NOT CALL REQUESTS, including any policies and
 procedures YOU have regarding DO NOT CALL REQUESTS.

      13.  All PERSONS that YOU called at least once on behalf of or for the benefit of
 TOTAL MERCHANT after such person submitted a DO NOT CALL REQUEST during the
 RELEVANT TIME PERIOD.

        14.     All calls that YOU placed to PERSONS during the RELEVANT TIME PERIOD
 on behalf of or for the benefit of TOTAL MERCHANT after they submitted a DO NOT CALL
 REQUEST.

        15.    All DOCUMENTS that YOU produced in response to the Subpoena To Produce
 Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action that
 was served on YOU by PLAINTIFF.

                                         DEFINITIONS

 1.     “CONSENT LANGUAGE” means and refers to all words, language, websites, images,
        terms, or disclosures that were shown, disclosed, or made viewable or available by YOU
        (or any person acting on YOUR behalf, for YOUR benefit, or in accordance with any
        agreement with YOU) to any consumer, including any disclosures located on or via any
        website, webpage, hyperlink, writing, or DOCUMENT, for the purpose of providing YOU
        with prior express consent to call the consumer’s cellphone as required by the Telephone
        Consumer Protection Act, 47 U.S.C. § 227, et seq.

 2.     “DEFENDANT” or “TOTAL MERCHANT” means and refers to the Defendant in the
        case, Total Merchant Services, LLC, a limited liability company organized and existing
        under the laws of the State of Delaware whose primary place of business is located at 21650
        Oxnard Street, Suite 200, Woodland Hills, California 91367, including all of its divisions,
        subsidiaries, related companies, predecessors and successors, and all of its owners,
        directors, managers, agents, attorneys, affiliates, subsidiaries, employees, contractors,
        partners, and joint ventures.

 3.      “DIALING EQUIPMENT” means and refers to any equipment, including telemarketing
        systems and/or computers or computer systems used to make the telephone calls and/or
        text messages in this case, including dialing equipment known as a “predictive dialer” or
        “autodialer.” The definition also includes dialing technology that plays a pre-recorded
Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.26 Page 13 of 29



       voice or message. The definition also includes all associated hardware, software, coding,
       and databases (including language, rules, fields, and schema).

 4.    “DO NOT CALL REQUEST” or any similar phrase, means and refers to any
       communication from a recipient of at least one of YOUR calls that communicated to YOU
       that the PERSON wanted to stop receiving calls from YOU.

 5.    “DOCUMENTS” means and refers to writings, contracts, manuals, papers, drawings,
       graphs, diagrams, maps, audits and audit results, records, reports, investigations, charts,
       studies, photographs, sound recordings, images, computer programs, letters, ESI, emails,
       text messages, contracts, spreadsheets, agreements, data, databases, and any and all other
       data or data compilations, including without limitation all ESI, Excel files, screen shots,
       proof of backups, data or other reporting data—stored in any medium from which
       information can be obtained.

 6.    “IDENTIFY” shall mean the following:

       A.     When referring to a person, it means to give the person’s full name, present address
              or last known address, additional phone number, and email address, and the name
              of the registered business associated, owned, or operated, in any capacity by any
              such person.

       B.     When referring to an entity, it means to give the entity’s full name, contact
              telephone number, and email address, and any name that the entity purports to do
              business as (d/b/a name), and the type of entity that the business is registered as,
              including but not limited to business, corporation, limited liability company,
              professional association, and limited liability partnership.

 7.    “INTERNAL DO NOT CALL LIST” means and refers to any internal list of phone
       numbers YOU maintain of PERSONS who have requested not to be called by YOU
       together with any written policies and procedures regarding the maintenance and use of
       any such list.

 8.    “PERSON” means any natural person or any business, legal, quasi-governmental or
       governmental entity or association.

 9.    “PLAINTIFF” means the Plaintiff in this action, Abante Rooter and Plumbing, Inc., and
       any subsequent Persons added as Plaintiffs to the Complaint or any subsequent or amended
       complaint.

 10.   “RELEVANT TIME PERIOD” means and refers to the time from September 11, 2015 to
       the present.

 11.   “TCPA” or “Telephone Consumer Protection Act” means and refers to the Telephone
       Consumer Protection Act, 47 U.S.C. § 227, et seq. and its implementing regulations, 47
       C.F.R. § 64.1200, et seq.
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 12.   “YOU,” “YOUR,” or “TRIUMPH” means and refers to Triumph Merchant Solutions, LLC
       a California corporation whose principal place of business and corporate headquarters is
       located at 2305 Historic Decatur Road, Suite 100, San Diego, California 92106, including
       all of its divisions, subsidiaries, related companies, predecessors and successors, and all of
       its owners, directors, managers, agents, attorneys, affiliates, subsidiaries, employees,
       contractors, partners, and joint ventures.
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                       EXHIBIT B
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 4
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 5     tsmith@woodrowpeluso.com
     WOODROW & PELUSO, LLC
 6   3900 East Mexico Avenue, Suite 300
     Denver, Colorado 80210
 7   Telephone: (720) 213-0676
     Facsimile: (303) 927-0809
 8
     *Pro Hac Vice admission to be sought
 9
     Attorneys for Petitioner
10
11                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13
     ABANTE ROOTER AND                             Case No.
14   PLUMBING, INC., a California
     corporation, individually and on behalf
15   of all others similarly situated,               DECLARATION OF TAYLOR T.
                                                     SMITH IN SUPPORT OF
16                       Petitioner,                 PETITIONER’S MOTION TO
                                                     COMPEL COMPLIANCE WITH
17   v.                                              SUBPOENAS AND FOR ORDER
                                                     TO SHOW CAUSE AS TO WHY
18   TRIUMPH MERCHANT                                TRIUMPH MERCHANT
     SOLUTIONS, LLC, a California                    SOLUTIONS, LLC SHOULD
19   limited liability company,                      NOT BE HELD IN CONTEMPT
20                       Respondent.                 Location: TBD
                                                     Date: TBD
21                                                   Time: TBD
                                                     Judge: TBD
22
23
24         I, Taylor T. Smith, declare as follows:
25         1.     I am an associate attorney with the law firm Woodrow & Peluso, LLC.
26   I am over the age of 18 and, if necessary, can competently testify if required to do
27
     DECL. OF TAYLOR T. SMITH                  1
28   ISO MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.30 Page 17 of 29




 1   so.
 2         2.     I am one of the attorneys of record for Petitioner Abante Rooter and
 3   Plumbing, Inc. (“Abante” or “Petitioner”) in the underlying litigation Abante Rooter
 4   and Plumbing, Inc. v. Total Merchant Services, LLC, Case No. 3:19-cv-05711-
 5   EMC (N.D. Cal. 2019).
 6         3.     The complaint in the underlying litigation alleges widespread
 7   violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
 8   (“TCPA” or “Act”). Specifically, Abante alleges that TMS violates the TCPA by:
 9   (1) placing autodialed telemarketing calls to consumers nationwide absent prior
10   express consent, (2) continuing to place autodialed calls after consumers revoke any
11   previously provided consent, and (3) calling persons whose numbers are registered
12   on the National Do Not Call Registry absent any consent.
13         4.     Total Merchant Services, LLC (“TMS”) has repeatedly identified
14   Respondent Triumph Merchant Solutions, LLC (“Triumph” or “Respondent”) as
15   one of its agents that places telemarketing calls to consumers on its behalf during
16   the subject time period. TMS has also asserted that Triumph initiated all of the calls
17   to Plaintiff, and that all of Triumph’s call records and related data are within the
18   custody, control, and possession of Triumph.
19         5.     On February 4, 2020, counsel for Abante issued a Subpoena to Testify
20   at a Deposition in a Civil Action and a Subpoena to Produce Documents,
21   Information, or Objects or to Permit Inspection of Premises in a Civil Action
22   (“Triumph Subpoenas”).
23         6.     On February 4, 2020, Abante served notice and copies of the Triumph
24   Subpoenas on all parties in the underlying litigation. Thereafter, Abante sent the
25   Triumph Subpoenas to a process server in the State of California.
26         7.     Triumph’s principal office address is located at 2305 Historic Decatur
27
     DECL. OF TAYLOR T. SMITH                   2
28   ISO MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.31 Page 18 of 29




 1   Road, Suite 100, San Diego, California 92106. (See Triumph California Secretary
 2   of State Business Filings, attached hereto as Group Exhibit 1.)
 3         8.     Triumph’s business filings also identify Brandon M. Smith, Esq. as its
 4   organizer, manager, and registered agent. (See id.)
 5         9.     On February 6, 2020, the process server attempted service at
 6   Triumph’s principal office address, which was actually a Regus office location. The
 7   server spoke with the Regus receptionist who informed him that Triumph
 8   employees only show up by appointment only. The receptionist also stated that
 9   Regus employees were not authorized to accept service of subpoenas.
10         10.    Thereafter, counsel for Abante located an additional office address for
11   Brandon M. Smith at 105 W. F St, 3rd Floor, San Diego, California 92101. This
12   address is listed on Mr. Smith’s Attorney Licensee Profile1 as well as on Triumph’s
13   Articles of Organization. (See Group Ex. 1.)
14         11.    Abante then directed the process server to attempt service of the
15   Triumph Subpoenas at the newly located address.
16         12.    On February 13, 2020, both subpoenas were served, via process server,
17   at the Brandon M. Smith’s office address. The subpoenas were left with an
18   individual who represented that she was authorized to accept service on behalf of
19   Mr. Smith.
20         13.    To date, Triumph has not responded to the subpoenas in any manner.
21   Triumph has also not moved to quash the subpoenas, served any objections, or
22   reached out to Abante’s counsel.
23         14.    On March 13, 2020, counsel for Abante sent a letter to Brandon M.
24   Smith requesting that Triumph reach out regarding the subject subpoenas. The letter
25
26   1
      Mr. Smith’s Attorney License Profile is publically available on the California
27   State Bar’s website at http://members.calbar.ca.gov/fal/Licensee/Detail/228065.
     DECL. OF TAYLOR T. SMITH                  3
28   ISO MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.32 Page 19 of 29




 1   also enclosed additional copies of the Triumph Subpoenas, both proofs of services,
 2   and informed Triumph that its failure to respond would result in the filing of this
 3   motion to enforce the subpoenas.
 4         15.    Triumph has not responded to counsel’s March 13th letter.
 5         16.    On April 3, 2020, counsel for Abante placed a call to Brandon M.
 6   Smith and left a voicemail message requesting that Mr. Smith reach out regarding
 7   Triumph’s refusal to respond to the subpoenas.
 8         17.    On April 6, 2020, counsel again attempted to call Mr. Smith. During
 9   this call, counsel spoke with Mr. Smith’s receptionist and was assured that his
10   message would be passed along.
11         18.    To date, Triumph has not responded to the Triumph Subpoenas, served
12   any objections to the subpoenas, moved to quash, or responded to any of Abante’s
13   counsels’ subsequent communication attempts.
14         I declare under penalty of perjury under the laws of the United States of
15   America that the foregoing is true and correct. Executed on April 21, 2020, in
16   Denver, Colorado.
17
18
                                            By: /s/ Taylor T. Smith
19                                                Taylor T. Smith
20
21
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27
     DECL. OF TAYLOR T. SMITH                  4
28   ISO MOTION TO COMPEL
     COMPLIANCE WITH SUBPOENAS
Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.33 Page 20 of 29




             GROUP EXHIBIT 1
           Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.34 Page 21 of 29
                           Articles of Organization
      LLC-1
                           of a Limited Liability Company (LLC)
    To form a limited liability company in California, you can fill out this form,
                                                                                                                  201502910295
    and submit for filing along with:
     -    A $70 filing fee.
                                                                                                                                 FILeokP t-
     -    A separate, non-refundable $15 service fee also must be included,
                                                                                                                           saaetary of Statf; ~
          if you drop off the completed form.
                                                                                                                           State of California
    Important! LLCs in California may have to pay a minimum $800 yearly
    tax to the California Franchise Tax Board. For more information, go to                                                   JAN 2 6 2015
    https://www.ftb.ca.gov.
    LLCs may not provide "professional services," as defined by California
    Corporations Code sections 13401(a) and 13401.3.
    Note: Before submitting the completed form, you· should consult with a
    private attorney for advice about your specific business needs.                                                   This Space For Office Use Only

                             For questions about this form, go to www.sos.ca.gov/business/belfiling-tips.htm
    LLC Name (list the proposed LLC name exactly as it is to appear on the records of the California Secretary of State.)
     (D      TRIUMPH MERCHANT SOLUTIONS, LLC
                 Proposed LLC Name                           The name must include: LLC, L.L.C., Limited Liability Company, Limited Liability Co., Ltd.
                                                             Liability Co. or Ltd. Liability Company; and may not include: bank, trust, trustee, incorporated,
                                                             inc., corporation, or corp., insurer, or insurance company. For general entity name
                                                             requirements and restrictions, go to www.sos.ca.gov/business/be/name-availability.htm.
    Purpose

     a)     The purpose of the limited liability company is to engage in any lawful act or activity for which a limited liability
            company may be organized under the California Revised Uniform Limited Liability Company Act.

    LLC Addresses
     @ a. 10225 BARNES CANYON ROAD STE. 207                                                           SAN DIEGO                       CA       92121
                 Initial Street Address of Designated Office in CA - Do not list a P. 0. Box          City (no abbreviations)         State     Zip

            b.
                 Initial Mailing Address of LLC, if different from 3a                                 City (no abbreviations)         Stale     Zip

   Service of Process (List a California resident or a California registered corporate agent that agrees to be your initial agent to accept
   service of process in case your LLC is sued. You may list any adult who lives in California. You may not list an LLC as the agent. Do not
   list an address if the agent is a California registered corporate agent as the address for service of process is already on file.)

     ©      a. BRANDON M. SMITH, ESQ.
                 Agent's Name

            b.   105 W. F ST., 3RD FLOOR                                                               SAN DIEGO                      CA 92101
                 Agent's Street Address (if agent is not a corporation) - Do not list a P.O. Box      City (no abbreviations)         State     Zip

   Management (Check only one.)

     ®      The LLC will be managed by:

                 D     One Manager              [{] More Than One Manager                      D    All Limited Liability Company Member(s)

   This form must be signed by each organizer. If you need more space, attach extra pages that are 1-sided and on standard letter-sized
   paper (8 1/2" x 11 "). All attachments are made part of these articles of organization.




  •Ot!ifib..ffl                                                            BRANDON SMITH
                                                                             Print your name here

  Make check/money order payable to: Secretary of State                                        By Mail                                  Drop-Off
  Upon filing, we will return one (1) uncertified copy of your filed                     Secretary of State                         Secretary of State
  document for free, and will certify the copy upon request and                  Business Entities, P.O. Box 944228             1500 11th Street., 3rd Floor
  payment of a $5 certification fee.                                               Sacramento, CA 94244-2280                      Sacramento, CA 95814
Corporations Code§§ 17701.04, 17701.08, 17701.13, 17702.01, Revenue and Taxation Code§ 17941                                          2014 California Secrelary of State
LLC-1 (REV 0112014)                                                                                                                     www.sos.ca.gov/business/be
          Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.35 Page 22 of 29
                            Secretary of State                                                       LLC-12                                        18-A31302
                            Statement of Information
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                                                                                                                                       In the office of the Secretary of State
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                                                                                                                                                       JAN 24, 2018
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  TRIUMPH MERCHANT SOLUTIONS, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization RQO\LIIRUPHGRXWVLGHRI&DOLIRUQLD 
                             201502910295                                               CALIFORNIA
 4. Business Addresses
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 7. Type of Business
 D'HVFULEHWKHW\SHRIEXVLQHVVRUVHUYLFHVRIWKH/LPLWHG/LDELOLW\&RPSDQ\
 call center
 8. Chief Executive Officer, if elected or appointed
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                                                                                                                                                                      I            I
 9. The Information contained herein, including any attachments, is true and correct.

   01/24/2018                    Brandon Smith                                                                             Lawyer
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           Case 3:20-cv-00754-JAH-BLM Document 1-3 Filed 04/21/20 PageID.36 Page 23 of 29

                  Secretary of State                                            LLC-12NC                            19-A90666
                  Statement of No Change
                  (Limited Liability Company)
                                                                                                                        FILED
                                                                                                         In the office of the Secretary of State
IMPORTANT — Read instructions before completing this form. This form may
                                                                                                                of the State of California
be used only if a complete Statement of Information has been filed previously
and there has been no change.
                                                                                                                        MAR 04, 2019
Filing Fee – $20.00

Copy Fee – $1.00;
           Certification Fee - $5.00 plus copy fee
                                                                                                           This Space For Office Use Only

1. Limited Liability Company Name (Enter the exact name of the LLC as it is recorded with the California Secretary of State. Note:
    If you registered in California using an alternate name, see instructions.)

TRIUMPH MERCHANT SOLUTIONS, LLC




2. 12-Digit Secretary of State File Number                      3. State, Foreign Country or Place of Organization (only if formed
                                                                     outside of California)

                   201502910295                                        CALIFORNIA

4. No Change Statement (Do not alter the No Change Statement. If there has been any change, please complete a Statement of
       Information (Form LLC-12).)

         There has been no change in any of the information contained in the
         previous complete Statement of Information filed with the California
         Secretary of State.

5. The information contained herein is true and correct.



03/04/2019
___________________
                    Chris Heil
                       ___________________________________
                                                                                 Managing  Partner
                                                                                 _____________________      ____________________________________
Date                         Type or Print Name of Person Completing the Form     Title                     Signature




Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the
filed document, enter the name of a person or company and the mailing address. This information will become public when filed.
(SEE INSTRUCTIONS BEFORE COMPLETING.)


Name:                ª                                                                        º
Company:
Address:

City/State/Zip:      ¬                                                                        ¼

  LLC-12NC (REV 01/2017)                                                                                            2017 California Secretary of State
                                                                                                                         www.sos.ca.gov/business/be
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            GROUP EXHIBIT C
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            GROUP EXHIBIT D
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                               Document  1-3 Filed 04/21/20 PageID.41 Page 28 of 29


                                                             Proof of Service

 Case:           Court:                                               County:                Job:
 3:19-cv-        United States District Court for the Northern        , CA                   4294745 (6309-01)
 05711JCS        District of California
 Plaintiff/ Petitioner:                                               Defendant I Respondent:
 Abante Rooter and Plu mbing, Inc.                                    Total Merchant Services, LLC
 Received by:                                                         For:
 lnservio3                                                            Woodrow & Peluso LLC
 To be served upon:
 Triumph Merchant Solutions, LLC

I, Melissa Peraza, being duly sworn, depose and say: I am overthe age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/ Address:    Triumph Merchant Solutions, LLC, Marisa "Doe", 105 West F Street, 3rd Floor, San Diego, CA 92101
Manner of Service:           Authorized, Feb 13, 2020, 3:24 pm PST
Documents:                   Subpoena to Produce Documents, Information, or Objects orto Permit Inspection of Premises in a Civil Action
Witness fees were offered
or demanded and paid:

Additional Comments:
1) Successful Attempt: Feb 13, 2020, 3:24 pm PST at 105 West F Street, 3rd Floor, San Diego, CA 92101 received by Triumph Merchant
Solutions, LLC, Marisa "Doe" .

Person serving:
a.ONot a registered California process server.
b.LJalifornia sheriff or marshal.
c. [K]Registered California process server.
d.0Employee or independent contractor of a registered California process server.
e.OExempt from registration under Business and Professions Code section 22350(b).
 •
f.      Registered professional photocopier.
g.0Exempt from registration under Business and Professions Code section 22451.
h.Name, address, telephone number, and, if applicable, county of registration and number:
   Melissa Peraza
   lnservio3
   18013 Sky Park Circle, Suite C
   Irvine CA 92614
   (949) 777-5496




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Melissa Peraza
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                               Document  1-3 Filed 04/21/20 PageID.42 Page 29 of 29


                                                             Proof of Service

 Case:           Court                                                 County:               Job:
 3:19-cv-        United States District Court for the Northern         , CA                  4294751 (6309-02)
 05711JCS        District of California
 Plaintiff/ Petitioner:                                                Defendant I Respondent:
 Abante Rooter and Plumbing, Inc.                                      Total Merchant Services, LLC
 Received by:                                                          For:
 lnservio3                                                             Woodrow & Peluso LLC
 To be served upon:
 Triumph Merchant Solutions, LLC

I, Melissa Peraza, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name I Address:    Triumph Merchant Solutions, LLC, Marisa "Doe", 105 West F Street, 3rd Floor, San Diego, CA 92101
Manner of Service:           Authorized, Feb 13, 2020, 3:24 pm PST
Documents:                   Subpoena to Testify at a Deposition in a Civil Action
Witness fees were offered
or demanded and paid:

Additional Comments:
1) Successful Attempt: Feb 13, 2020, 3:24 pm PST at 105 West F Street, 3rd Floor, San Diego, CA 92101 received by Triumph Merchant
Solutions, LLC, Marisa "Doe" .

Person serving:
a.ONot a registered California process server.
b.OCallfomla sheriff or marshal.
c. []]Registered California process server.
d.OEmployee or Independent contractor of a registered California process server.
e.OExempt from registration under Business and Professions Code section 22350(b).
f. ORegistered professional photocopier.
g.OExempt from registration under Business and Professions Code section 22451.
h.Name, address, telephone number, and, if applicable, county of registration and number:
   Melissa Peraza
   lnservio3
   18013 Sky Park Circle, Suite C
   Irvine CA 92614
   (949) 777-5496
